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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                       SAN ANTONIO DIVISION

MI FAMILIA VOTA, TEXAS STATE
CONFERENCE OF THE NATIONAL
ASSOCIATION FOR THE
ADVANCEMENT OF COLORED
PEOPLE, MICAELA RODRIGUEZ AND
GUADALUPE TORRES,
           Plaintiffs,                     Civil Action No. 5:20-cv-00830

v.

GREG ABBOTT, GOVERNOR OF TEXAS;
AND RUTH HUGHS, TEXAS SECRETARY
OF STATE,
          Defendants.



             THE TEXAS GOVERNOR’S MOTION TO DISMISS
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                                                 INTRODUCTION

         Plaintiffs seek federal oversight of the Texas election system for the unknowable duration of

the COVID-19 pandemic. 1 They request an astounding number of changes to Texas’s election laws

and propose an astounding degree of federal incursion into the minutiae of election administration.

         The State of Texas—like its sister states—is responding to the pandemic with the best

solutions that fit within the statutory and constitutional limits that applied before COVID-19, that

have applied during COVID-19, and that will continue to apply after this pandemic ends. But for

every solution the State has recommended for upcoming elections, Plaintiffs propose problems.

Whether it is concern over paper ballots, complying with voting deadlines, or having to show up at a

polling place, Plaintiffs claim that anything and everything the State of Texas does is unconstitutional.

And not only is it unconstitutional, say Plaintiffs, it is tinged with racism. Not so.

         Plaintiffs’ views on best practices for elections during a pandemic do not set the constitutional

floor, let alone state a claim for relief that this Court should entertain. This Court should dismiss this

case for at least five reasons. First, no plaintiff adequately alleges facts supporting standing to bring

their claims. Second, Plaintiffs present nonjusticiable political questions. Third, sovereign immunity bars

Plaintiffs’ claims because the Ex parte Young exception does not apply. Fourth, even if, Ex parte Young

otherwise applied, the exception to the exception—namely the invasion of Texas’s special sovereignty

interests—should place this case outside the orbit of Ex parte Young. Fifth, even if Plaintiffs could

hurdle the manifold jurisdictional problems presented by their suit, they still failed to state a claim for

relief under a constitutional or statutory theory.

         For all these reasons, the Court should dismiss Plaintiffs’ Complaint for lack or jurisdiction

or, alternatively, for failure to state a claim.



1Dkt. No. 1 at p. 44 (“Order that all such relief be extended until there are no existing cases of coronavirus in the State of
Texas; or until there is a vaccine freely and readily available to all Texans, whichever comes sooner.”).


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                                        ARGUMENT AND AUTHORITIES

I.       No standing exists to bring this suit against the Governor of Texas

                  Standing principles

          “[S]tanding is perhaps the most important of the jurisdictional doctrines.” FW/PBS, Inc. v.

City of Dallas, 493 U.S. 215, 231 (1990) (quotation omitted). Courts persistently inquire into standing

because “[w]ithout jurisdiction the court cannot proceed at all in any cause.” Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 94 (1998) (quotation omitted) (emphasis added). At the pleading stage, the

individual plaintiffs must “clearly . . . allege facts demonstrating each element” of standing. Spokeo, Inc.

v. Robbins, 136 S. Ct. 1540, 1547 (2016) (quotation omitted). Specifically, a plaintiff must show: (1) an

actual or imminent, concrete and particularized “injury-in-fact”; (2) that is fairly traceable to the

challenged action of the defendant; and (3) that is likely to be redressed by a favorable decision. Friends

of the Earth, Inc. v. Laidlaw Envt’l Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000).

         The organizational plaintiffs have two avenues to allege standing: (1) associational 2 or (2)

organizational. See NAACP v. City of Kyle, 626 F.3d 233, 237-38 (5th Cir. 2010). Organizational

standing requires that the plaintiff establish injury, causation, and redressability. Id. For associational

standing, the organization must show (1) that its members would independently have standing; (2)

that the interests the organization is protecting are germane to the purpose of the organization; and

(3) neither the claim asserted nor the relief requested requires participation of individual members.

Tex. Democratic Party v. Benkiser, 459 F.3d 582, 587-88 (5th Cir. 2006).

         Neither the organizational plaintiffs nor the individual plaintiffs alleged sufficient facts to

demonstrate standing to challenge what they allege are unconstitutional burdens on the right to vote.



2 Plaintiff Mi Familia Vota, unlike Plaintiff NAACP, did not allege that it is suing on behalf of itself and its members.
Compare Dkt. No. 1 ¶¶ 19-21 (describing Mi Familia Vota’s standing allegations), with id. ¶ 22 (explaining that the NAACP
“brings this action on its own behalf and on behalf of its members and constituents”). Fairly read, Mi Familia Vota is
alleging only organizational standing, whereas NAACP is alleging both organizational and associational standing.


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                    The NAACP does not have associational standing

          The NAACP failed to plead associational standing. A plaintiff cannot have associational

standing unless one of its members would have standing to sue individually. See Hunt v. Wash. State

Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Thus, demonstrating standing would require the

NAACP to “identify members who have suffered the requisite harm.” Summers v. Earth Island Inst., 555

U.S. 488, 499 (2009). Indeed, the Fifth Circuit has applied this rule to the NAACP itself. See NAACP

v. City of Kyle, 626 F.3d 233, 237 (5th Cir. 2010) (requiring evidence of “a specific member”).

          Because the NAACP has not alleged the existence of specific members, let alone specific

members with individual standing, their claims should be dismissed. See Ga. Republican Party v. SEC,

888 F.3d 1198, 1203 (11th Cir. 2018); Draper v. Healey, 827 F.3d 1, 3 (1st Cir. 2016) (Souter, J.); Disability

Rights Wis., Inc. v. Walworth Cty. Bd. of Supervisors, 522 F.3d 796, 804 (7th Cir. 2008).

          The only individuals identified in the Complaint are Micaela Rodriguez and Guadalupe Torres,

but the Complaint does not allege that either are members of the NAACP. See Dkt. No. 1 ¶¶ 24-25.

Even if they were members, however, they could not support associational standing because they lack

individual standing for the reasons explained below. 3

                    Neither Mi Familia Vota nor the NAACP has organizational standing

          An organization has direct organizational standing only if it satisfies the same Article III

requirements applicable to individuals: injury-in-fact, causation, and redressability. City of Kyle, 626 F.3d

at 237. That an organization has an “interest in a problem . . . is not sufficient” for standing, “no




3 The complaint refers to the NAACP’s “members and constituents,” Dkt. No. 1 ¶ 22, but it does not plausibly allege facts
satisfying the “indicia of membership” requirements from Hunt, 432 U.S. at 344. That requires members who “elect
leadership, serve as the organization’s leadership, and finance the organization’s activities, including the case’s litigation
costs.” Tex. Indigenous Council v. Simpkins, No. 5:11-cv-315, 2014 WL 252024, at *3 (W.D. Tex. Jan. 22, 2014). The NAACP
has not alleged facts showing it has such members. It never alleges that its purported members and constituents “participate
in and guide the organization’s efforts,” Ass’n for Retarded Citizens of Dall. v. Dall. Cty. Mental Health & Mental Retardation Ctr.
Bd. of Trs., 19 F.3d 241, 244 (5th Cir. 1994), much less that they “alone finance [the NAACP’s] activities, including the
costs of this lawsuit,” Hunt, 432 U.S. at 344.


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matter how longstanding the interest and no matter how qualified the organization is in evaluating the

problem.” Sierra Club v. Morton, 405 U.S. 727, 739 (1972).

        The NAACP bases its standing on an alleged “diversion of resources,” but such a diversion

can support standing only if “the change in plans [is] in response to a reasonably certain injury imposed

by the challenged law.” Zimmerman v. City of Austin, 881 F.3d 378, 390 (5th Cir. 2018). Plaintiffs “cannot

manufacture standing merely by inflicting harm on themselves based on their fears of hypothetical

future harm that is not certainly impending.” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 402 (2013);

see also La Asociacion de Trabajadores de Lake Forest v. City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir.

2010) (“[A plaintiff] must instead show that it would have suffered some other injury if it had not

diverted resources to counteracting the problem.”).

        In this case, the NAACP’s alleged diversion of resources relates to lobbying, but this does not

qualify as a cognizable injury it would suffer for purposes of organizational standing. The NAACP

allegedly “initiat[ed] campaigns calling on Election Officials to” take various actions. Dkt. No. 1 ¶ 23.

But an organization lacks standing “when the only ‘injury’ arises from the effect of the regulations on

the organizations’ lobbying activities.” Ctr. for Law & Educ. v. Dep’t of Educ., 396 F.3d 1152, 1161 (D.C.

Cir. 2005); see also City of Kyle, 626 F.3d at 238 (rejecting standing because “Plaintiffs have not explained

how the[ir] activities . . . differ from the HBA’s routine lobbying activities”).

        Further, the NAACP has “not identified any specific projects that [it] had to put on hold or

otherwise curtail in order to respond to the” laws it challenges. City of Kyle, 626 F.3d at 238. The

NAACP has “only conjectured that the resources” it diverted “could have been spent on other

unspecified [NAACP] activities.” Id. at 239. That is not enough. See Def. Distributed v. U.S. Dep’t of State,

No. 1:15-cv-372, 2018 WL 3614221, at *4 (W.D. Tex. July 27, 2018).

        Mi Familia Vota lacks standing for the same reasons. Like the NAACP, Mi Familia Vota claims

to suffer from a self-inflicted “diversion of resources” without identifying any cognizable injury in fact



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that the diversion was necessary to avoid. See Dkt. No. 1 ¶ 20. And like the NAACP, Mi Familia Vote

has “not identified any specific projects that [it] had to put on hold or otherwise curtail in order to

respond to the” laws it challenges. City of Kyle, 626 F.3d at 238. Instead, it has “only conjectured that

the resources” it diverted “could have been spent on other unspecified [] activities.” Id. at 239.

        Both the NAACP and Mi Familia Vota allege that their missions include encouraging voting.

See Dkt. No. 1 ¶ 19 (“Mi Familia Vota encourages voter registration and participation); id. ¶ 23 (“[T]he

NAACP engages in voter education and registration”). But the “abstract social interest in maximizing

voter turnout . . . cannot confer Article III standing.” Fair Elections Ohio v. Husted, 770 F.3d 456, 461

(6th Cir. 2014). To the extent Plaintiffs claim an interest in the political consequences of which

potential voters vote, they lack standing because federal courts do not hear “case[s] about group

political interests.” Gill v. Whitford, 138 S. Ct. 1916, 1933 (2018).

                The organizational plaintiffs also lack third-party standing

        Even if the organizational plaintiffs had Article III standing, they would still lack statutory

standing. See Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127-28 nn.3-4 (2014).

Section 1983 provides a cause of action only when the plaintiff suffers “the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws.” 42 U.S.C. § 1983. It does not provide

a cause of action to plaintiffs claiming an injury based on the violation of a third party’s rights. See Coon

v. Ledbetter, 780 F.2d 1158, 1160 (5th Cir. 1986) (“[L]ike all persons who claim a deprivation of

constitutional rights, [plaintiffs] were required to prove some violation of their personal rights.”).

        Section 1983 “incorporates . . . the Court’s ‘prudential’ principle that the plaintiff may not

assert the rights of third parties,” but it omits the “exceptions” that occasionally overrode the

prudential doctrine. David P. Currie, Misunderstanding Standing, 1981 Sup. Ct. Rev. 41, 45. When “[t]he

alleged rights at issue” belong to a third party, rather than the plaintiff, the plaintiff lacks statutory




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standing, regardless of Article III standing. Danos v. Jones, 652 F.3d 577, 582 (5th Cir. 2011); see also

Conn v. Gabbert, 526 U.S. 286, 292–93 (1999). 4

         Here, the organizational plaintiffs premise their claims on the right to vote. But the

organizational plaintiffs are artificial entities that do not have voting rights. “It goes without saying

that political parties, although the principal players in the political process, do not have the right to

vote.” Vieth v. Pennsylvania, 188 F. Supp. 2d 532, 546 (M.D. Pa. 2002). The organizational plaintiffs are

necessarily asserting the rights of third parties.

         The organizational plaintiffs therefore lack statutory standing to sue under Section 1983.

Because this follows from the statute itself, exceptions from “prudential standing principles do not

apply.” Am. Psychiatric Ass’n v. Anthem Health Plans, Inc., 821 F.3d 352, 359 (2d Cir. 2016); see also Currie,

1981 Sup. Ct. Rev. at 45. But even if the organizational plaintiffs could invoke prudential-standing

exceptions, their Complaint does not do so. Plaintiffs do not allege that they have “a ‘close’

relationship with” voters, and there is no reason to think voters face any “hindrance” to protecting

their “own interests.” Kowalski v. Tesmer, 543 U.S. 125, 130 (2004) (noting the Supreme Court has

generally “not looked favorably upon third-party standing”).

                  The individual plaintiffs’ alleged harm does not establish standing

         Micaela Rodriguez “plans to vote in the November 2020 elections” but alleges that “she may

not be able to do so if the procedures in place for elections make voting practically impossible[.]” Dkt. No. 1

¶ 24. Guadalupe Torres, on the other hand, does not want to vote in person because she lives at home

with her parents, and alleges that her father is at “high risk for COVID-19 illness.” Dkt. No. 1 ¶ 25.

That is the sum total of the individual plaintiffs’ standing allegations.




4 Section 2 of the Voting Rights Act also concerns a particular “citizen,” not third parties. 52 U.S.C. § 10301(a). To the

extent it implies a private cause of action (which the Governor does not concede), it does so in favor of the individual
voter injured, not non-voters suing to vindicate third parties’ rights.


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        “[P]laintiffs must establish standing for each and every provision they challenge.” In re Gee, 941 F.3d

153, 160 (5th Cir. 2019) (emphasis added). Here, Ms. Rodriguez does not identify anything that may

dissuade her from voting and, in fact, says she plans to vote barring some unidentified, unknown

procedure that may make voting practically impossible. Ms. Rodriguez cannot establish standing to

challenge the volumes of law and policy that the Plaintiffs purport to challenge with the vague

assertion that she may decide it’s too dangerous to vote at some point in the future.

        Similarly, Ms. Torres’s allegation that she may decline to vote because she is not eligible to

vote by mail is similarly lacking. Ms. Torres cannot rely on a conjectural harm to a third-person to

establish her standing to bring a lawsuit. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (“First, the

plaintiff must have suffered an ‘injury in fact’ . . .”). Ms. Torres does not allege that she cannot vote or

will not vote, nor does she allege that any specific action by any named defendant will cause her not

to vote. She alleges that because she is concerned about the possibility that she may catch COVID-19

and the possibility that she may pass that along to someone else, she would prefer to vote by mail. That

alleged harm is too attenuated and conjectural to satisfy Article III standing. Clapper, 568 U.S. at 409.

                The Plaintiffs’ harms are not traceable to or redressable by the Governor

        As explained below in Section III(A), the Governor does not enforce the various laws and

policies that Plaintiffs challenge. For that reason, the Governor does not cause—and relief ordered

against him would not redress—Plaintiffs’ asserted injuries. Plaintiffs’ complaint “confuses [a] statute’s

immediate coercive effect on the plaintiffs with any coercive effect that might be applied by the

defendants.” Okpalobi v. Foster, 244 F.3d 405, 426 (5th Cir. 2001) (en banc). In the interest of brevity, the

Governor thus asserts that this Court’s analysis under Ex parte Young also bears on the standing

analysis. See City of Austin v. Paxton, 943 F.3d 993, 1003 (5th Cir. 2019).




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II.     This case presents nonjusticiable political questions

        While courts have authority to “say what the law is,” there are some questions that are “in

their nature[,] political” that are beyond the scope of Article III. Marbury v. Madison, 5 U.S. (1 Cranch)

137, 170, 177 (1803). In Coalition for Good Governance v. Raffensperger, the plaintiffs complained that

COVID-19 made in-person voting unsafe unless election officials adopted various changes to both

in-person and mail-in voting. No. 1:20-cv-1677, 2020 WL 2509092, at *1 (N.D. Ga. May 14, 2020).

They sought some of the same relief that Plaintiffs here seek, including “an order requiring polling

locations to use paper ballots.” Id. But the court concluded the plaintiffs’ claims presented “a classic

political question”—“whether the executive branch has done enough.” Id. at *3. “[T]here are no

discernable and manageable standards” that would allow a court “to decide issues such as how early

is too early to hold the election or how many safety measures are enough.” Id. The same is true here.

        The political-question doctrine is rooted in the separation of powers. Baker v. Carr, 369 U.S.

186, 210 (1962). Any one of six factors can render a case nonjusticiable under this doctrine:

        [1] a textually demonstrable constitutional commitment of the issue to a coordinate
        political department; or [2] a lack of judicially discoverable and manageable standards
        for resolving it; or [3] the impossibility of deciding without an initial policy
        determination of a kind clearly for nonjudicial discretion; or [4] the impossibility of a
        court’s undertaking independent resolution without expressing lack of the respect due
        coordinate branches of government; or [5] an unusual need for unquestioning
        adherence to a political decision already made; or [6] the potentiality of embarrassment
        from multifarious pronouncements by various departments on one question.

Baker, 369 U.S. at 217. Cases that require the court to decide a political question must be dismissed

for lack of jurisdiction. Id. at 217. The scope of the requested relief implicates at least three of the six

indicia of a nonjusticiable political question.

        First, the Elections Clause commits the administration of elections to coordinate

departments—Congress and state legislatures—not courts. Baker, 369 U.S. at 217; U.S. Const. art. I,

§ 4, cl. 1. “Plaintiffs ask this Court to assume the roles of state and federal legislatures, urging us to

exercise the discretion that has been explicitly reserved to those political bodies.” Agre v. Wolf, 284 F.

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Supp. 3d 591, 596 (E.D. Pa. 2018) (three-judge court). The Elections Clause and the history of its

adoption demonstrate that “the Framers did not envision such a primary role for the courts.” Id. at

599. The “manner” of conducting elections includes “the numerous requirements as to procedure and

safeguards which experience shows are necessary in order to enforce the fundamental right

involved.” Smiley v. Holm, 285 U.S. 355, 366 (1932). These are reserved to the state legislatures. Courts

should focus on enforcement of the First and Fourteenth Amendments, which are “generally

unobtrusive to States in promulgating election regulations.” Agre, 284 F. Supp. 3d at 599.

        As discussed above, Plaintiffs’ Complaint seeks a court order directing the exact manner of

the conduct of elections—something specifically committed to other parts of government. Plaintiffs’

Complaint requires this Court to replace Texas’s Election Code with this Court’s own judgment about

the proper administration of elections (or more specifically implement Plaintiffs’ preferred election

measures), in violation of the “textually demonstrable constitutional commitment of the issue” to state

legislatures and to Congress. Baker, 369 U.S. at 217; Agre, 284 F. Supp. 3d at 620.

        Second, Plaintiffs acknowledge that executive-branch officials at all levels have undertaken

measures to slow the spread of the coronavirus. See, e.g., Dkt. No. 1 ¶¶ 62, 77, 102. But Plaintiffs

believe the measures taken so far are insufficient to protect the health of the individuals involved in

the upcoming election. As a result, Plaintiffs’ Complaint calls upon the Court to make “an initial policy

determination of a kind clearly for nonjudicial discretion.” Baker, 369 U.S. at 217. Determinations like

that are clearly entrusted to the State. See In re Abbott, 954 F.3d 772, 784-85 (5th Cir. 2020).

        Plaintiffs’ Complaint requires this Court to determine that the officials charged by statute with

making decisions in a declared health emergency have not sufficiently exercised those powers for the

benefit and protection of Texas voters. That determination is required before this Court can reach the

merits of Plaintiffs’ claims. Thus, in order to decide Plaintiffs’ claims, this Court must “reconsider

what are essentially policy choices,” El-Shifa Pharm. Indus. Co. v. United States, 607 F.3d 836, 844 (D.C.



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Cir. 2010) (en banc), made by the Governor under his authority to respond to the declared public

health emergency. This Court is not being asked to decide the constitutionality of a discrete

statute, Zivotofsky v. Clinton, 566 U.S. 189, 196 (2012), but to second-guess the policy determinations

of executive-branch officials in response to COVID-19. Because Plaintiffs’ Complaint requires the

Court to reconsider the policy decisions of officials from other branches before it can address

Plaintiffs’ claims, it presents nonjusticiable political questions that are not within the jurisdiction of

this Court to decide.

         Third, even if this Court did not have to determine the proper policy for a response to the

current pandemic, there are still no “judicially discoverable and manageable standards” that this Court

can apply to Plaintiffs’ claims. Much like cases alleging partisan gerrymandering, where courts were

called upon to decide the definition of “fairness” and then “how much is too much,” Rucho v. Common

Cause, 139 S. Ct. 2484, 2500-01 (2019), Plaintiffs ask this Court to define “safety” in the context of an

election and then answer “how much is not enough”? See id.; Jacobson v. Fla. Sec’y of State, 957 F.3d.

1193, 1218 (11th Cir. 2020) (Pryor, J., concurring). The judiciary is ill-equipped to handle these

questions that involve the “complex, subtle, and professional decisions” required to conduct elections

because of the lack of manageable standards. Gilligan v. Morgan, 413 U.S. 1, 10 (1973). Ultimately,

Plaintiffs’ Complaint “poses basic questions that are political, not legal.” Rucho, 139 S. Ct. at 2500; see

also Ctr. for Biological Diversity v. Trump, 2020 WL 1643657, at *10-11 (D.D.C. Apr. 2, 2020).

III.     Plaintiffs’ constitutional claims are barred by sovereign immunity 5

         Ex parte Young allows suits for injunctive or declaratory relief against state officials, provided

they have sufficient “connection” to enforcing an allegedly unconstitutional law. City of Austin, 943

F.3d at 997. Otherwise, the suit is effectively against the state itself and barred by sovereign



5The Fifth Circuit recently suggested that Section 2 of the Voting Rights Act abrogates sovereign immunity. See Fusilier v.
Landry, 963 F.3d 447, 455 (5th Cir. 2020). The Governor preserves the argument that that case was wrongly decided.


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immunity. See Va. Office for Prot. & Advocacy v. Stewart, 563 U.S. 247, 253 (2011). If the official sued is

not “statutorily tasked with enforcing the challenged law,” then the requisite connection is absent and

“our Young analysis ends.” City of Austin, 943 F.3d at 998 (citation omitted).

                The Governor does not administer elections

        Plaintiffs sued Governor Abbott in his official capacity but make only passing reference to

him in the Complaint. Plaintiffs point to the state-wide mask mandate issued by Governor Abbott in

July of this year that exempted voting sites. Dkt. No. 1 ¶ 102. Governor Abbott did issue Executive

Order GA-29—related to the use of face coverings during the COVID-19 pandemic, on July 2, 2020,

but Governor Abbot does not enforce GA-29, making Ex parte Young inapplicable to him. Tex. Exec.

Order No. GA-29, available at, https://gov.texas.gov/uploads/files/press/EO-GA-29-use-of-face-

coverings-during-COVID-19-IMAGE-07-02-2020.pdf (last visited August 4, 2020).

        GA-29 requires “[e]very person in Texas” to “wear a face covering over the nose and mouth

when inside a commercial entity or other building or space open to the public, or when in an outdoor

public space, wherever it is not feasible to maintain six feet of social distancing from another person

not in the same household” with certain exceptions that include voting locations. Id. at 2. GA-29 goes

on to provide that “[l]ocal law enforcement and other local officials, as appropriate, can and should

enforce this executive order, Executive Order GA-28, and other effective executive orders, as well as

local restrictions that are consistent with this executive order and other effective executive orders.” Id.

at 3.

        The Fifth Circuit recently explained while addressing another of Governor Abbott’s executive

orders that Chapter 418 of the Texas Government Code is the font of Governor Abbott’s authority.

In re Abbott, 956 F.3d 696, 709 (5th Cir. 2020). Noting that the power to promulgate is not the same

as the power to enforce, the Fifth Circuit explained that the Governor has authority “to ‘issue,’

‘amend,’ or ‘rescind’ executive orders, not to ‘enforce’ them.” Id. The court relied on language



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authorizing others to enforce the executive order to hold that Governor Abbott does not fly within Ex

parte Young’s orbit. Id. So too here.

        GA-29 imposes penalties for failure to comply with the mandate and authorizes “local law

enforcement” and “local officials” to enforce the executive order, not the Governor. Because

Governor Abbott lacks sufficient connection to the enforcement of GA-29, the Ex parte Young

exception does not apply, and Governor Abbott may not be sued for injunctive relief under the

Eleventh Amendment. See id.

        The same reasoning would hold for any mandatory injunction. “The power to promulgate law

is not the power to enforce it,” regardless of whether Plaintiffs complain that the Governor has issued

an executive order they do not like or that he has not issued an executive order they would like. Id.

The Ex parte Young exception is limited to injunctions “prevent[ing] [a state official] from doing that

which he has no legal right to do.” Ex parte Young, 209 U.S. at 159. It does not authorize injunctions

directing “affirmative action.” Id. Sovereign immunity bars constitutional claims “if the relief requested

cannot be granted by merely ordering the cessation of the conduct complained of but will require

affirmative action by the sovereign,” Larson v. Domestic & Foreign Commerce Corp., 337 U.S. 682, 691

n.11 (1949), including “cases where the [defendant] sued could satisfy the court decree only by acting

in an official capacity.” Zapata v. Smith, 437 F.2d 1024, 1026 (5th Cir. 1971); see also United Tribe of

Shawnee Indians v. United States, 253 F.3d 543, 548 (10th Cir. 2001). Thus, the Court cannot order “the

[Governor] to promulgate a rule requiring [local election officials] to [perform their duties] contrary

to” currently existing law. Jacobson, 957 F.3d at 1211–12.

                Alternatively, Plaintiffs’ requested election precautions would impinge on
                Texas’s special sovereignty interests

        Ex Parte Young does not apply—and thus a suit is barred by the Eleventh Amendment—when

a plaintiff’s requested relief against state officials “implicates special sovereignty interests” of the

state. Idaho v. Coeur d’ Alene Tribe, 521 U.S. 261, 281 (1997). In order to implicate the special sovereignty


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interests of the state, the type of relief sought must implicate the “sovereignty interests and funds so

significantly” that the Ex Parte Young exception does not apply. Lane v. Cent. Ala. Cmty. Coll., 772 F.3d

1349, 1351 (11th Cir. 2014) (emphasis added). Without question, they are implicated here.

        Most courts applying Coeur d’ Alene Tribe have done so in the context of real property. See,

e.g., Hollywood Mobile Estates Ltd. v. Cypress, 415 F. App’x 207, 211 (11th Cir. 2011). In determining if

special sovereignty interests are implicated in other contexts, courts have looked to whether (1) the

injunctive relief would involve an area that “derives from [the state’s] general sovereign powers,” MCI

Telecomm. Corp. v. Bell Atl.-Pa., 271 F.3d 491, 515 (3d Cir. 2001); (2) the suit seeks to interfere “with the

allocation of state funds” as opposed to “incidental expenditures” involved in complying with an

injunction, Barton v. Summers, 293 F.3d 944, 949, 951 (6th Cir. 2002); or (3) the suit sought to “rewrite

[the state’s] property tax code with respect to its application against [] personal property,” ANR Pipeline

Co. v. LaFaver, 150 F.3d 1178, 1194 (10th Cir. 1998). In this case, all three of these criteria are

instructive and support sovereign immunity.

        To determine the sovereignty interests of states to conduct elections, this Court need only

look to the Constitution. The Elections Clause, art. I, § 4, cl. 1, specifies that the “Times, Places and

Manner of holding Elections . . . shall be prescribed in each State by the Legislature thereof.” This

provision was based on the “plain proposition” identified by the Framers that “every government ought to

contain in itself the means of its own preservation.” The Federalist No. 59 (Alexander Hamilton) (emphasis in

original). Leaving the manner of regulating state elections in the hands of the states made sense

because allowing the federal government to regulate elections for states would be “an unwarrantable

transposition of power, and [] a premeditated engine for the destruction of the State governments.” Id.

        The Supreme Court has likewise repeatedly recognized the sovereign interests of states

conducting their own elections: “A State indisputably has a compelling interest in preserving the

integrity of its election process.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (quoting Eu v. S.F. Cty.



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Democratic Cent. Comm., 489 U.S. 214, 231 (1989)). In denying a challenge to a state election practice,

Justice Scalia relied in part on “the Constitution’s express commitment of the task [of running

elections] to the States.” Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 208 (2008) (Scalia, J.,

concurring in the judgment); see also Gregory v. Ashcroft, 501 U.S. 452, 461, 468 (1991). Similarly, this

Court should do so here.

        Plaintiffs’ Complaint invades the sovereignty interests of the State of Texas by seeking an

order “directing the precise way in which Texas should conduct voting.” The Eleventh Circuit recently

questioned whether that such broad-reaching relief could render Ex parte Young inapplicable to cases

involving elections processes. See Curling v. Worley, 761 F. App’x 927, 934 (11th Cir. 2019) (per curiam).

Plaintiffs here are not merely asking a federal court to closely scrutinize state laws whose very design

infringes on the rights of voters. Rather, Plaintiffs seek to have this Court supervise the administrative

details of a local election.

        Plaintiffs’ proposed overhaul of Texas’s election procedures would be a judicial declaration

that would “diminish, even extinguish,” Coeur d’ Alene Tribe, 521 U.S. at 282, the State’s and nonparty

counties’ power to control:

    •   The period of early voting;
    •   How and whether voters, poll-workers, persons assisting voters, and any other person at a
        polling site wear a mask and requiring the State to pay for masks for persons who do not
        already have one;
    •   Determine whether counties can offer extended, temporary, or mobile early voting locations
        with flexible hours and days;
    •   Requirements that curbside voters must qualify as having a disability or, alternatively, order
        that any voter may identify as “disabled” due to the threat that the coronavirus poses to his or
        her health and life, for the purpose of being found eligible to vote curbside;
    •   Opening additional polling places and determining the number of voting booths and poll
        workers at each polling place;
    •   The number of staff at polling places;
    •   Waiting times for voting;
    •   Poll worker recruiting activities;
    •   How many polling locations local elections officials can open or close;
    •   Whether and how to provide electronic voting and paper ballots;


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      •   Determine voter identification requirements;
      •   Determine how poll workers should physically handle identification or documentation;
      •   Determine whether to apply the natural disaster exception to the pandemic, and allow voters
          to sign affidavits regarding the natural disaster exception at the polling place;
      •   Require elections officials to procure protective gear, including masks and gloves, in sufficient
          quantity to allow poll workers to change protective gear frequently;
      •   Dictate when poll workers can and should wash their hands;
      •   Free county officials from any strictures of Texas law when crafting elections procedures,
          provided the procedures comply with the directives of the Court; and,
      •   Rescind or modify any voting practice or procedure deemed by this Court to unlawfully
          discriminate against Black, Latino, or other underserved voters on the basis of a protected
          characteristic, to eliminate such discrimination.

Dkt. No. 1 at Prayer. Plaintiffs also request that this Court’s supervision over elections last until Texas

can demonstrate that no coronavirus cases exist in the State or until a vaccine is provided to voters

for free upon demand.

          Without question, Plaintiffs’ proposed relief directly attacks the state’s general sovereign

powers to regulate elections, as discussed above. Bell Atl.-Pa., 271 F.3d at 514. Plaintiffs’ proposed

relief would also interfere with state funds by specifically requiring state payment for the relief

sought. Barton, 293 F.3d at 949, 951.

          In effect, Plaintiffs ask this Court to rewrite Texas’s Election Code and then supervise Texas’s

election system until the eradication of COVID-19. ANR Pipeline Co., 150 F.3d at 1194. If Plaintiffs’

proposed rewrite of Texas’s Election Code and invitation to perpetually monitor and direct Texas’s

elections does not implicate the special sovereignty interests of the State in a way violative of the

Eleventh Amendment, it is difficult to conceive a situation where Coeur d’ Alene Tribe would apply

to any election case.

IV.       Plaintiffs fail to state a claim upon which relief can be granted

                  Plaintiffs did not state a procedural or substantive due process claim

          Plaintiffs do not have a right to vote by any means of their choosing. Burdick v. Takushi, 504

U.S. 428, 433 (1992). Of course, Plaintiffs do not claim that their right to vote has been extinguished



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or diluted. What they are really arguing about is the process or method by which voters will cast in-

person or mail-in ballots in upcoming elections while COVID-19 persists. Indeed, Plaintiffs’ proposed

remedies focus almost exclusively on procedural measures from drive-thru voting to using paper

ballots instead of electronic voting machines. Dkt. No. 1 at 42-44.

        First, Plaintiffs cannot state a claim under the Due Process Clause because the desire to vote

using the procedures Plaintiffs propose is not “life, liberty, or property” under the Fourteenth

Amendment. In Johnson v. Hood, “voters whose ballots were rejected” argued that they “had been

deprived of due process of law” because the procedures had been “arbitrary.” 430 F.2d 610, 611-12

(5th Cir. 1970) (per curiam). The Fifth Circuit rejected their claim because “even an improper denial

of the right to vote for a candidate for a state office achieved by state action is not a denial of a right

of property or liberty secured by the due process clause.” Id. at 612 (quotation omitted); cf. Johnson v.

Bredesen, 624 F.3d 742, 752 (6th Cir. 2010) (“[N]o authority recognizes the right to vote in federal

elections as a privilege or immunity of United States citizenship.”). If the right to vote at all is not “life,

liberty, or property,” as the Fifth Circuit held, then the desire to vote using Plaintiffs’ proposed safety

measures cannot be “life, liberty, or property” either.

        Second, Texas’s procedures for voting are well justified, not unconstitutional. Procedural due

process claims require the court to balance the private interest at stake, the risk of an “erroneous

deprivation of such interest through the procedures used,” potential alternatives, and the

government’s interest involved, including the “fiscal and administrative burdens” that accompany

Plaintiffs’ requested relief. Matthews v. Eldridge, 424 U.S. 319, 335 (1976). Plaintiffs have not plausibly

alleged that the State’s procedures lead to an unacceptable risk of erroneous deprivations. They have

not alleged anything about the fiscal and administrative burdens of various competing proposals.

        To the extent Plaintiffs allege a substantive due process claim, their claim still fails. “[F]ederal

courts will not intervene to . . . supervise the administrative details of a local election.” Curry v. Baker,



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802 F.2d 1302, 1314 (11th Cir. 1986). Courts reject substantive due process claims that would require

becoming “engulfed in the morass of election details.” Id. at 1316. Only in extraordinary circumstances

not plausibly alleged here could a federal court entertain a request “to oversee the administrative details

of a local election.” Pettengill v. Putnam Cty. R-1 Sch. Dist., Unionville, Mo., 472 F.2d 121, 122 (8th Cir.

1973); see also Duncan v. Poythress, 657 F.2d 691, 701 (5th Cir. Unit B 1981).

        Both substantive and procedural due process claims require plaintiffs to allege some

government action interferes with their rights. However, Plaintiffs have not identified offensive

statutes or regulations, but only vaguely asserted that the existence of COVID-19 creates a risk to

voting under laws in place long before COVID-19 became an issue. This omission is fatal to their due

process claims. Plaintiffs complain there is a risk of voting in person, but “[t]he real problem here is

COVID-19, which all but the craziest conspiracy theorists would concede is not the result of any act

or failure to act by the Government.” Coalition for Good Governance, 2020 WL 2509092, at *3 n.2.

                Plaintiffs’ equal protection claim also fails

        Plaintiffs do not allege intentional discrimination in their suit. Rather, they assert that people

in minority communities are impacted more heavily by COVID-19 because they may have longer

drives, wait times, or lines for in-person voting. However, even assuming Plaintiffs could show an

increased impact, disparate racial impacts, standing alone, do not violate the Constitution. See

Washington, 426 U.S. 229, 242 (1976) (“[W]e have not held that a law, neutral on its face and serving

ends otherwise within the power of government to pursue, is invalid under the Equal Protection

Clause simply because it may affect a greater proportion of one race than of another.”). Even if they

did, Plaintiffs do not plausibly allege disparate impact on minority communities.

        Instead, Plaintiffs assert that some voters will face larger crowds and longer lines, subjecting

them to a greater risk of contracting COVID-19. Courts have routinely rejected lines and crowds as a

significant harm to a constitutional right—particularly when there is no evidence of improper intent.



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For example, in Common Cause Indiana v. Marion County Election Board, the Southern District of Indiana

categorized difficulties such as longer lines and wait times as “nonsevere, nonsubstantial, or slight

burden on the general right to vote as a matter of law.” 311 F. Supp. 3d 949, 966 (S.D. Ind.

2018), vacated and remanded, 925 F.3d 928 (7th Cir. 2019); see also Jacksonville Coal. for Voter Prot. v. Hood,

351 F. Supp. 2d 1326, 1335 (M.D. Fla. 2004).

         Alleging that the longer lines (not a constitutional concern) should prod the State to do more

(not a constitutional imperative) does not amount to a violation of the Equal Protection clause.

         To the extent Plaintiffs invoke the Anderson-Burdick doctrine, their claim still fails. Those cases

utilize a sliding scale balancing test that weighs the “character and magnitude” of the alleged burden

against the government's interest in the challenged law. Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

“If a State’s election law imposes only ‘reasonable, nondiscriminatory restrictions’ upon the First and

Fourteenth Amendment rights of voters, ‘the State’s important regulatory interests are generally

sufficient to justify’ the restrictions.” Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 788).

         But the Anderson/Burdick analysis does not apply outside the context of specific state action.

Plaintiffs cite no cases to the contrary. See Crawford v. Marion Cty. Elec. Bd., 553 U.S. 181, 190 n.8

(2008) (photo identification requirement); Burdick, 504 U.S. at 434 (statutory prohibition on write-in

candidates); Anderson, 460 U.S. at 789 (early filing deadline). In essence, Plaintiffs urge this Court to

make the state “do more.” 6 But a government’s willingness to exceed its statutory obligations does

not provide a constitutional basis to require the government go further. See Gwinnett Cty. NAACP v.

Gwinnett Cty. Bd. of Registration & Elections, 1:20-cv-912, 2020 WL 1031897, at *7 (N.D. Ga. Mar. 3,

2020). There is no constitutional imperative to provide the additional protections Plaintiffs seek.




6 This is also true of Plaintiffs’ tag-along First Amendment claim. Because the burden analysis on the free speech claim

Plaintiffs raise mirrors the burden analysis addressed here, Plaintiffs have failed to allege a claim of an unconstitutionally
burdensome state action that impinges on their right to vote.


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        Moreover, the Supreme Court has always analyzed “the magnitude of burdens . . . categorically

and [has] not consider[ed] the peculiar circumstances of individual voters or candidates.” Crawford, 553

U.S. at 206 (Scalia, J., concurring in the judgment). Here, Plaintiffs cannot establish that Texas’s

procedures impose any “categorical” burdens. In any event, even if the Court could focus on

individual voters, Plaintiffs have not identified any individual voters facing severe burdens. Instead,

they point to various conditions that vary from polling place to polling place. How widespread will

the virus be? Where will polling places be located? Who will operate them? What systems will

individuals use to vote? The answers to all of these questions, and more, will change from location to

location. Plaintiffs cannot use Anderson-Burdick to complain that some combinations of conditions and

policies in some unspecified locations will be problematic for some unspecified voters.

                Plaintiffs’ fail to state a Fifteenth Amendment claim

        A Fifteenth Amendment claim requires the plaintiff to plausibly allege discriminatory intent

or effect. But here, Plaintiffs have affirmatively alleged the opposite. Plaintiffs complain that

Defendants acted “despite knowledge that the risks and harms posed by the coronavirus pandemic

disproportionately affected communities of color.” Dkt. No. 1 ¶ 204 (emphasis added). This allegation

is not plausible for the reasons explained below, but even if it were, turning a blind eye to disparate

impact is not unconstitutional discriminatory intent. Discriminatory intent requires action “because

of, not merely in spite of, [the action’s] adverse effects upon an identifiable group.” Ashcroft v. Iqbal, 556

U.S. 662, 677 (2009) (quotation omitted) (emphasis added).

        In any event, Plaintiffs have not plausibly alleged discriminatory intent or effect by any

Defendants under the framework established in Village of Arlington Heights v. Metropolitan Housing

Development Corp., 429 U.S. 252 (1977). Though they argue that the virus has a disparate impact, they

do not allege that any actions taken by Defendants do. See, e.g., Dkt. No. 1 ¶ 47. Plaintiffs allege nothing

about “[t]he historical background of the decision[s]” they challenge or “[t]he specific sequence of



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events leading up to the challenged decision[s].” Arlington Heights, 429 U.S. at 267. Plaintiffs never

suggest there have been “procedural” or “[s]ubstantive departures” that might suggest discrimination.

Id. Nor do they say anything about “[t]he legislative or administrative history.” Id. at 268.

                Plaintiffs’ Section 2 claim also fails

        “Despite its broad language, Section 2 does not prohibit all voting restrictions that may have

a racially disproportionate effect.” Johnson v. Gov. of State of Fla., 405 F.3d 1214, 1228 (11th Cir. 2005).

Rather, Section 2(b) “make[s] clear that an application of the results test requires an inquiry into the

totality of the circumstances.” Chisom v. Roemer, 501 U.S. 380, 394 (1991). This analysis turns on

whether the challenged law violates Section 2(a) because it deprives minority voters of an equal

opportunity to participate in the electoral process and to elect representatives of their choice.

        To state a claim for vote denial under Section 2, (1) the challenged law has to “result in” the

denial or abridgement of the right to vote; and, (2) the denial or abridgement of the right to vote must

be “on account of race or color.” In other words, the challenged law must have caused the denial or

abridgement of the right to vote on account of race. Greater Birmingham Ministries v. Sec’y of State for Ala.,

2020 WL 4185801, at *22 (11th Cir. 2020). Disparate impact is not enough. Id. (collecting cases). While

Plaintiffs allege that there have been issues in other states, Dkt. No. 1 ¶¶ 11-12, Plaintiffs do not draw

any lines between voting experiences in Texas and a higher incidence of COVID-19 amongst any

group of voters, let alone any minority groups. What’s more, experience in other states does not speak

to the interplay between Texas voters and Texas practices. In sum, Plaintiffs failed to allege any facts

that would support a vote denial claim under Section 2 of the Voting Rights Act.

                                               CONCLUSION

        The Governor respectfully requests that the Court dismiss Plaintiffs’ claims.




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Date: August 12, 2020                                 Respectfully submitted.

KEN PAXTON                                            /s/ Patrick K. Sweeten
Attorney General of Texas                             PATRICK K. SWEETEN
                                                      Associate Deputy for Special Litigation
JEFFREY C. MATEER
First Assistant Attorney General                      TODD LAWRENCE DISHER
                                                      Deputy Chief, Special Litigation Unit
RYAN L. BANGERT
Deputy First Assistant Attorney General               WILLIAM T. THOMPSON
                                                      Special Counsel

                                                      ERIC A. HUDSON
                                                      Special Counsel

                                                      OFFICE OF THE ATTORNEY GENERAL
                                                      P.O. Box 12548 (MC-009)
                                                      Austin, Texas 78711-2548
                                                      Tel.: (512) 936-1414
                                                      Fax: (512) 936-0545
                                                      patrick.sweeten@oag.texas.gov
                                                      todd.disher@oag.texas.gov
                                                      will.thompson@oag.texas.gov
                                                      eric.hudson@oag.texas.gov

                                                      COUNSEL FOR THE TEXAS GOVERNOR




                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on August 12, 2020, and that all counsel of record were served by CM/ECF.

                                                       /s/ Patrick K. Sweeten
                                                       PATRICK K. SWEETEN




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